                          UNITED STATES DEPARTMENT OF JUSTICE
                          OFFICE OF THE UNITED STATES TRUSTEE
                           EASTERN DISTRICT OF PENNSYLVANIA


IN THE MATTER OF:                                           Chapter 11

SCUNGIO BORST & ASSOCIATES, LLC.                            Case No. 22-10609 (AMC)

                                                            APPOINTMENT OF COMMITTEE
                  Debtor(s).                                OF UNSECURED CREDITORS
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       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following
persons to the Committee of Unsecured Creditors in connection with the above captioned case:

          1. Portuguese Structural Steel, Inc., 255 South Street, Newark, NJ 07114; Attn: Paula
             Cabral, President; Phone: (973) 344-1342/Fax: (973) 344-1730; E-Mail:
             paula@portuguesesteel.com;

          2. MARX Sheet Metal & Mechanical, Inc., 373 High Street, Wilkes Barre, PA 18702;
             Attn: John DeFranco; Phone: (267) 486-1999/Fax: (267) 486-1066; E-Mail:
             John.DeFranco@MarxHVAC.com;

          3. Philadelphia Carpentry Systems, Inc., 5 North Columbus Boulevard, Philadelphia, PA
             19106; Attn: Raymond Spera, Owner; Phone: (215) 923-2160 Ext. 102; E-Mail:
             jbritto@philacarpsystems.com;

          4. Jersey Construction, Inc. 838 Piney Hollow Road, P.O. Box 557, Hammonton, NJ
             08037; Attn: Kristin Whitmyer; Phone: (609) 704-0005/Fax: (609) 704-0020; E-
             Mail: kwhitmyer@jci-kci.c0m;

          5. 2M Electric, 109 Camars Drive, Warwick, PA 18974; Attn: Kurt Meister; Phone:
             (215) 530-9964/Fax: (215) 672-3108; E-Mail: twomelectric@aol.com;

                                                     Andrew R. Vara
                                                     United States Trustee
                                                     Regions 3 and 9

                                                     _/s/ George M. Conway for____
                                                     Frederic J. Baker
                                                     Assistant United States Trustee

DATED: April 11, 2022

Attorney assigned to this case: George M. Conway, Esquire (215) 597-4411



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